             2:07-cr-20059-SEM-KLM             # 27      Filed: 11/15/07        Page 1 of 1
                                                                                                         E-FILED
                                                         Thursday, 15 November, 2007 09:59:19 AM
                                                                      Clerk, U.S. District Court, ILCD
                                  UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF ILLINOIS
                                   URBANA/DANVILLE DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                                  Plaintiff,      )
                                                  )
                      v.                          )                    No. 07-20059-03
                                                  )
LARONDA M. HERRING,                               )
                                                  )
                                Defendant.        )

             ORDER ON IMPLEMENTATION OF SENTENCING GUIDELINES

        Counsel is allowed fourteen (14) days, beginning on the date of receipt of the Pre-Sentence
Report, to communicate, in writing, to the probation officer and opposing counsel, any objections
to any material information contained in, or omitted from, the report. Objections should not be filed
with the court or sent to the clerk’s office. If there are no objections to the contents of the report, this
also must be communicated to the probation office and opposing counsel, in writing, within fourteen
(14) days. The AUSA and defense counsel are requested to meet with the probation officer and make
a good faith effort to resolve the objections. The probation officer may also conduct further
investigation and either revise the report or prepare an addendum addressing all unresolved objections.
See Fed. R. Crim. P. 32(b)(6)(B); CDIL-LR 32.1.

        If there are other sentencing factors or any unresolved objections not adequately presented in
the Addendum to the Presentence Report, e.g., the appropriateness of a sentence which is above or
below the Guideline range, counsel shall file a pleading with the Court, with a copy to opposing counsel
and the probation officer, entitled “(Party’s) Commentary on Special Sentencing Factors,” along with
a memorandum of law in support thereof. Any such commentary shall be filed at least four (4) working
days prior to the sentencing hearing. Opposing counsel are given leave to file a response at least two
(2) working days prior to sentencing.

        Should either the Government or the defense intend to present sworn testimony at the sentencing
hearing, notice of proposed witnesses, the subject of their testimony, and projected length of the
testimony shall be filed with the Court at least four (4) working days prior to the hearing, with due
service upon opposing counsel. Counsels’ adherence to this deadline will enable the Court to schedule
sufficient time for the hearing and minimize the inconvenience to witnesses.

       This implementation timetable will be strictly followed since a failure to meet a deadline
impacts on all subsequent deadlines which, in turn, could necessitate continuing the sentencing hearing.

                             ENTERED this 15th day of November, 2007


                                        s/ Michael P. McCuskey
                                       MICHAEL P. McCUSKEY
                                            CHIEF JUDGE
